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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


                                              )          CHAPTER 7
IN RE:                                        )
                                              )          CASE NO. 16-54770-WLH
COLLEEN PATRICIA BRANNON,                     )
                                              )
         Debtor.                              )
                                              )
                                              )
JASON L. PETTIE, Chapter 7 Trustee for        )
the Estate of Colleen Patricia Brannon,       )
                                              )
         Plaintiff,                           )
v.                                            )          CONTESTED MATTER
                                              )
REGIONS BANK,                                 )
ROCKDALE COUNTY TAX                           )
BENJAMIN T. POLK, and                         )
COLLEEN PATRICIA BRANNON,                     )
                                              )
         Respondents.                         )
                                              )


       TRUSTEE’S MOTION FOR AUTHORITY TO (I) SELL PROPERTY OF THE
     BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
     ENCUMBRANCES AND (II) DISBURSE CERTAIN PROCEEDS AT CLOSING

         COMES NOW Jason L. Pettie, as Chapter 7 Trustee for the bankruptcy estate of

Colleen Patricia Brannon (“Trustee”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and

Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c) and 9014, by and through undersigned

counsel, and files Trustee’s Motion for Authority to (I) Sell Real Property of the Bankruptcy

Estate Free and Clear of Liens, Interests, and Encumbrances and (II) Disburse Certain Proceeds




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at Closing (the “Sale Motion”). In support of the Sale Motion, Trustee shows the Court

as follows:

                                 Venue and Jurisdiction

        1.    This Court has jurisdiction over this Sale Motion under 28 U.S.C. §§ 157 and

1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. This

Sale Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                       Background

                                 i. General Background

        2.    Colleen Patricia Brannon (“Debtor”) filed the above-styled bankruptcy case

by filing a petition for relief under Chapter 7 of Title 11 of the United States Code on

March 15, 2016 (the “Petition Date”), initiating Case No. 16-54770-WLH (the

“Bankruptcy Case”).

        3.    On or about March 16, 2016, Trustee was appointed to the Case as the

interim Chapter 7 trustee, pursuant to 11 U.S.C. § 701(a)(1).

        4.    The original meeting of creditors was conducted and concluded on April

20, 2016, pursuant to 11 U.S.C. § 341(a), after which time, Trustee became the permanent

Chapter 7 Trustee, pursuant to 11 U.S.C. § 702(d).

        5.    At the commencement of the Bankruptcy Case, the Debtor’s estate was

created under 11 U.S.C. § 541(a) (collectively, the “Bankruptcy Estate”), and the

Bankruptcy Estate included all Debtor’s legal or equitable interests in property as of the

commencement of the Bankruptcy Case and any interest in property that the Bankruptcy




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Estate acquired after commencement of the Bankruptcy Case. 11 U.S.C. § 541(a)(1) and

(7).

          6.    Trustee is the sole representative of the Bankruptcy Estate. 11 U.S.C. §

323(a).

          7.    Trustee filed his Application to Appoint Attorney for Trustee [Doc. No. 11] on

July 11, 2016, and the Court entered an Order [Doc. No. 19] on November 14, 2016,

authorizing the appointment of Arnall Golden Gregory LLP as attorneys for Trustee.

                                       ii. The Property

          8.    By virtue of a Warranty Deed dated May 10, 2002 (the “Deed”) and recorded

on the real property records with the Superior Court of Rockdale County (the “Real

Estate Records”) on October 23, 2002 [Pages 192–195 of Deed Book 2467], Debtor and

Benjamin T. Polk (“Mr. Polk”) purchased that certain real property known generally as

3291 Zingara Road, NE, Conyers, Rockdale County, Georgia 30094 (the “Property”).

   iii. Order Authorizing Trustee’s Sale of the Property Under 11 US.C. Section 363(h)

          9.    On September 7, 2016, Trustee filed a Complaint [Doc. No. 17] against

Regions Bank, Mr. Polk and Debtor, initiating adversary Proceeding No. 16-05212-WLH

[A. P. Doc. No. 1], seeking authority to sell co-owned property under 11 U.S.C. §§ 363(h).

          10.   On April 6, 2018, the Court entered an Order Granting Summary Judgment

[A. P. Doc. No. 37], approving and authorizing, among other things, Trustee to sell both

the Estate’s interest and Mr. Polk’s interest in the Property under 11 U.S.C. § 363(h).




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        11.   On December 2, 2016, a Consent Judgment Declaring Deed to Secure Debt of

Regions Bank Not a Valid Lien Against the Property and Granting Other Relief [Doc. No. 17],

which declared that the first security deed of Regions Bank was paid in full by the second

security deed of Regions Bank. Regions Bank further disclaimed any interest in the

Property or entitlement to the net sale proceeds from the sale of the Property by virtue of

the first security deed.

                        iv. Alleged Liens, Interests, and Encumbrances

        12.   Trustee obtained a full title examination report of the Property dated July

21, 2016 and effective June 24, 2016 (the “Title Report”).

        13.   The Title Report reflects the following:

              (a) a Security Deed (the “First Deed”)dated October 3, 2003 and recorded on

                  the real property records for Superior Court of Rockdale County,

                  Georgia (the “Real Estate Records”) on October 20, 2003 for a revolving

                  line of credit limit in the amount of $35,000.00 in favor of Regions Bank;

                  and

              (b) a Security Deed (the “Second Deed”) dated October 4, 2008 and recorded

                  on the Real Estate Records on October 20, 2008 for a revolving line of

                  credit limit in the amount of $35,000.00 in favor of Regions Bank.

        14.   The First Deed of Regions Bank matured on October 17, 2008. As aforesaid,

the First Deed of Regions Bank was paid in full by the Second Deed of Regions Bank, but

simply never cancelled of record.




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        15.     Therefore, with the exception of unpaid ad valorem real property taxes due to

Rockdale County Tax Commissioner (“Rockdale County”) for 2017 and 2018 in the amounts of

$1,152.73 and $2,189.69, respectively, and the Bankruptcy Estate’s pro-ration of 2019, there is only

one encumbrance on or against the Property, which is in favor of Regions Bank which has a loan

payoff in the approximate amount of $34,760.00. See Schedule D: Creditors Who Have Claims

Secured by Property [Page 23 of Doc. No. 1].

              Request for Authority to Sell Property of the Bankruptcy Estate
                 Free and Clear of all Liens, Interests, and Encumbrances
                          Pursuant to 11 U.S.C. §§ 363(b) and (f)

        16.     Based on a thorough inspection, evaluation and comparative marketing

analysis by a licensed real estate broker, Trustee had determined an appropriate listing

price would be $123,000.00.

        17.     On July 20, 2018, Trustee filed his Application to Employ Real Estate Agent

[Doc. No. 22]. The Bankruptcy Court entered an Order [Doc. No. 23] on July 30, 2018,

authorizing the employment of Southside Realtors and Duane Lockwood (collectively,

the “Realtor”) as the listing agent for the Property for a six percent (6%) commission on

the purchase price. Trustee advertised the Property for sale with a listing price of

$123,000.00.

        18.     After much negotiation, Trustee entered into a Purchase and Sale Agreement

for the sale of the Property to Maritza Castro (the “Purchaser”), “as is, where is,” for a

sale price of $130,000.00 (the “Purchase Price”), subject to Bankruptcy Court approval

(the “Contract”). A true and correct copy of the Contract is attached hereto and

incorporated herein by reference as Exhibit “A.”


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        19.    The Purchaser was procured through the efforts of Trustee and his Realtor,

is a bona fide purchaser, and is not an insider of Debtor, Mr. Polk, Trustee, or the Realtor.

The Purchaser has submitted an earnest money deposit in the amount of $2,600.00.

Trustee will pay up to $3,900.00 in Purchasers’ closing costs.

        20.    Trustee has received a total of four (4) offers on the Property. Trustee’s

proposed Contract with a Purchase Price of $130,000.00 is by far the best offer that Trustee

has received, is subject to no contingencies whatsoever, and represents an appropriate

selling price for the Property.

                                       Legal Analysis

                                    i. Sale Free and Clear

        21.    Section 363 of the Bankruptcy Code authorizes a trustee “after notice and a

hearing . . . [to] use, sell, or lease, other than in the ordinary course of business, property

of the estate . . . .” 11 U.S.C. § 363(b)(1). Section 105 of the Bankruptcy Code grants this

Court the authority to “issue any order, process, or judgment necessary or appropriate to

carry out the provisions of this title.” 11 U.S.C. § 105(a).

        22.    Section 363(f) of the Bankruptcy Code authorizes a trustee to sell property

under 11 U.S.C. § 363(b) free and clear of any interest in such property if, among other

things, the price at which the property is to be sold is greater than the aggregate of the

liens on such property. 11 U.S.C. § 363(f). Specifically, that code section provides:

        (f) The trustee may sell property under subsection (b) or (c) of this section
        free and clear of any interest in such property of an entity other than the
        estate, only if-




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              (1)    applicable nonbankruptcy law permits sale of such property
                     free and clear of such interest;
              (2)    such entity consents;
              (3)    such interest is a lien and the price at which such property is
                     to be sold is greater than the aggregate value of all liens on
                     such property;
              (4)    such interest is in bona fide dispute; or
              (5)    such entity could be compelled, in a legal or equitable
                     proceeding, to accept a money satisfaction of such interest.

Id.

        23.   As set forth below, Trustee can, under 11 U.S.C. § 363(f), sell the Property

free and clear of all liens, interests, claims, and encumbrances with any lien (to the extent

valid, perfected, enforceable, and unavoidable) attaching to the proceeds of the sale with

the same priority and extent as they had in the Property.

        24.   Pursuant to the Title Report, Regions Bank and Rockdale County hold the

only liens on or against the Property. The proposed Purchase Price is greater than the

sum of the claim of Regions Bank and all ad valorem taxes due Rockdale County, satisfying

11 U.S.C. § 363(f)(3). As a result, the Property can be sold free and clear of the liens of

Regions Bank and Rockdale County.

                         ii. Good Faith of Trustee and Purchasers

        25.   Moreover, 11 U.S.C. § 363(m) provides that the reversal or modification on

appeal of an authorization of a sale or lease of property does not affect the validity of the

sale or lease under such authorization to an entity that purchased or leased the property

in good faith. See 11 U.S.C. § 363(m).




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        26.    Although the Bankruptcy Code does not define good faith, courts have

recognized that the kind of misconduct that would destroy a good faith status involves

fraud, collusion between the purchaser and other offerors or the trustee, or an attempt to

take grossly unfair advantage of other offerors. See In re Abbott Dairies of Pa., Inc., 788 F.2d

143, 147 (3d Cir. 1986).

        27.    Trustee and Purchaser have proceeded in good faith, and Purchaser is a

bona fide, good-faith purchaser and not an insider of Debtor, Mr. Polk, Trustee, or Realtor.

Consequently, Trustee and Purchaser are entitled to the protections of 11 U.S.C. § 363(m).

              Request for Authority to Disburse Certain Proceeds at Closing

        28.    Trustee requests authority to have all sale proceeds paid to him at closing

and for authority to have paid at closing: (a) the payoff to Regions Bank on the Second

Deed; (b) all outstanding ad valorem real property taxes including but not limited to 2017

in the amount of $1,152.73 and 2018 in the amount of $2,186.69; (c) the Bankruptcy Estate’s

pro-ration of the 2019 ad valorem county real property taxes estimated at $107.31 (based

on 2018 tax bill); (d) real estate commission of six percent (6%) of the Purchase Price in

the amount of $7,800.00; (e) any capital gains or other taxes related to the sale (none

anticipated); (f) water and sewer liens (none anticipated); (g) Purchaser’s closing costs up

to $3,900.00; and (h) all other costs of sale, or costs necessary to close a sale of the Property.

Thereafter, Trustee is authorized to disburse at closing, one-half of the remaining net sale

proceeds to Ms. Polk.




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        29.   All other distributions will be made only upon further order of the Court.

        30.   To the extent funds are disbursed at closing by a party other than Trustee,

Trustee requests that such party be treated as Trustee’s designated and authorized agent.

        31.   Based on the above proposed distributions, Trustee estimates that the

proposed sale will result in approximately $38,000.00 coming into the Bankruptcy Estate,

all of which will be available to distribute in accordance with 11 U.S.C. § 726.

Accordingly, upon information and belief, the proposed sale of the Property to

Purchasers will allow Trustee to make a meaningful distribution to holders of unsecured

claims against the Bankruptcy Estate.

                                 Other Relief Requested

        32.   Trustee expressly reserves and does not waive his right to surcharge the

Property and the proceeds thereof, to the extent it secures an allowed secured claim, for

reasonable, necessary costs of preserving or disposing of the Property to the extent of any

benefit to the holders of such secured claims under 11 U.S.C. § 506(c).

        33.   In addition, Trustee requests that the Court waive the stay of the order

approving the proposed sale as authorized under Rule 6004(h) of the Federal Rules of

Bankruptcy Procedure.

        34.   Finally, following notice to all creditors and parties in interest of the Sale

Motion, and the date of the Hearing, Trustee invites any and all competing cash bid which

exceed the present Contract by at least $7,000.00, supported by earnest money of at least

$5,000.00 (or two (2%) percent of the bid price), with no contingencies, and the ability to




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close within ten (10) days from Bankruptcy Court approval.

        WHEREFORE, Trustee respectfully requests that the Court enter an Order:

        (a)    Granting the Sale Motion;

        (b)    Authorizing and approving the Contract and the sale of the Property free

and clear of all liens, interests and encumbrances;

        (c)    Authorizing the distribution of certain proceeds at closing;

        (d)    Authorizing the proposed sale to be consummated immediately as allowed

by Federal Rules of Bankruptcy Procedure Rule 6004(h);

        (e)    Reserving to the Bankruptcy Estate all rights under 11 U.S.C. § 506(c); and

        (f)    Granting such other and further relief as the Court deems just or

appropriate.

        Respectfully submitted this 6th day of December, 2018.

                                           ARNALL GOLDEN GREGORY, LLP
                                           Attorneys for Trustee

                                           By:/s/ Neil C. Gordon
                                              Neil C. Gordon
                                              Georgia Bar No. 302387
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                                           Atlanta, Georgia 30363-1031
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                             EXHIBIT “A” FOLLOWS




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                                   CERTIFICATE SERVICE

         This is to certify that I, Neil C. Gordon, am over the age of 18 and that on this day I
have caused to be served a copy of the forgoing Trustee’s Motion for Authority to (I) Sell Real
Property of the Bankruptcy Estate Free and Clear of All Liens, Interests and Encumbrances, and (II)
Disburse Certain Proceeds at Closing by depositing in the United States mail a copy of same in
a properly addressed envelope with adequate postage affixed thereon to assure delivery by
first class United States Mail to the following persons at the addresses stated:

First Class Mail:                                    Benjamin T. Polk
                                                     3291 Zingara Road, NE
Office of the United States Trustee                  Conyers, GA 30094
362 Richard B. Russell Bldg.
75 Ted Turner Drive, SW                              Cindy S. Stacey
Atlanta, GA 30303                                    Cindy S. Stacey, P.C.
                                                     P. O. Box 1810
Jason L. Pettie                                      Conyers, GA 30012
Chapter 7 Trustee
P.O. Box 17936                                       Colleen Patricia Brannon
                                                     2851 Broughton Road
Atlanta, GA 30312
                                                     Newborn, GA 30056
Rockdale County Tax Commissioner
                                                     Michael Campbell
969 Pine Street
                                                     ATTENTION: Denise Hammock
P.O. Box 1497
                                                     Campbell & Brannon, LLC
Conyers, GA 30012
                                                     5565 Glenridge Connector, Suite 350
                                                     Atlanta, Georgia 30342

Certified and first class mail:

Grayson Hall, CEO
Regions Bank
1900 Fifth Avenue North
Birmingham, AL 35203


        This 6th day of December, 2018.
                                                     /s/ Neil C. Gordon
                                                     Neil C. Gordon
                                                     Georgia Bar No. 302387




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